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8    Attorneys for Plaintiffs WESTLEY ROBINSON and LUTHER COCKRILL as
9    individuals and on behalf of all employees similarly situated
10                       UNITED STATES DISTRICT COURT
11                     CENTRAL DISTRICT OF CALIFORNIA
12

13
     WESTLEY ROBINSON and LUTHER Case No.:
     COCKRILL as individuals, and on
14   behalf of all similarly situated CLASS ACTION
15   employees,
                                      COMPLAINT FOR DAMAGES AND
16                  Plaintiffs,       RESTITUTION
17                v.
                                                  1. Violation of the Fair Labor
18
     INDEPENDENT PET PARTNERS                        Standards Act (29 U.S.C. §§ 206
     HOLDINGS, LLC; KRISER’S                         and 207);
19
     FEEDING PETS FOR LIFE, LLC                   2. Failure to Pay All Wages;
20
     DBA KRISER’S NATURAL PET; and                3. Failure to Provide Meal Periods;
21   DOES 1 through 50, inclusive,                4. Failure to Provide Rest Periods;
                                                  5. Failure to Maintain Accurate
22
                                                     Payroll Records;
23
                  Defendants.                     6. Failure to Pay Wages Upon
                                                     Ending Employment;
24
                                                  7. Failure to Reimburse Business
25                                                   Expenses; and
26
                                                  8. Unfair Competition

27                                          DEMAND FOR JURY TRIAL
28

                                            1

                       COMPLAINT FOR DAMAGES AND RESTITUTION
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1          Plaintiffs WESTLEY ROBINSON (“Plaintiff Robinson” or “Mrs.
2    Robinson”) and LUTHER COCKRILL (“Plaintiff Cockrill” or “Mr. Cockrill”)
3    (collectively, “Plaintiffs”) on behalf of themselves and all others similarly
4    situated, complains and alleges as follows:
5                                   INTRODUCTION
6          1.     This is a class action brought on behalf of Plaintiffs and the class
7    they seek to represent (“Plaintiffs’ Class”), as defined herein, as all non-exempt
8    hourly and/or commission employees employed or formerly employed by
9    Defendants INDEPENDENT PET PARTNERS HOLDINGS, LLC (“IPPH”) and
10   KRISER’S FEEDING PETS FOR LIFE, LLC DBA KRISER’S NATURAL PET
11   (“KNP”) (collectively, “Defendants”). The “Class Period” is defined as four (4)
12   years prior to the filing of this complaint through the date final judgment is
13   entered. Plaintiffs reserve the right to amend this complaint to reflect a different
14   “Class Period” as further discovery is conducted.
15         2.     Plaintiffs individually and on behalf the class they seek to represent,
16   seek relief against Defendants for the failure to pay all wages due in violation of
17   Cal. Labor Code §§ 204, 510, 1182.12, 1194, 1197, 1198; failure to provide meal
18   and rest periods or compensation in lieu thereof pursuant to Cal. Labor Code §§
19   226.7, 512, sections 11 and 12 of the Industrial Welfare Commission (“IWC”)
20   Wage Order No. 2, and Cal. Code Regs., Title 8, §§ 11000 et seq.; failure to
21   provide accurate itemized wage statements upon payment of wages pursuant to
22   Cal. Labor Code §§ 226(a), 226.2, 1174, and Section 7 of IWC Wage Order No.
23   2; failure to pay wages of terminated or resigned employees pursuant to Cal.
24   Labor Code §§ 201, 202, and 203; and failure to reimburse business expenses
25   pursuant to Cal. Labor Code §§ 2800 and 2802. Plaintiffs further seek equitable
26   remedies in the form of restitution, declaratory relief, and injunctive relief under
27   the Business and Professions Code §§ 17200 et seq. for unfair business practices.
28   ///
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                       COMPLAINT FOR DAMAGES AND RESTITUTION
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1          3.     Additionally, Plaintiffs seek recovery of damages for Defendants’
2    failure to pay minimum and overtime wages pursuant to the Fair Labor Standards
3    Act (“FLSA”) 29 U.S.C. §§ 206, 207, and and 29 C.F.R. § 778.315. Plaintiffs
4    allege that Defendants, as a result of its nationwide policies and practices, failed to
5    pay the applicable minimum and overtime wage for off-the-clock work in
6    violation of California law. Plaintiffs further allege that Defendants failed to pay
7    the applicable minimum wage for non-productive time and time spent during rest
8    breaks for employees paid purely on commissions. Plaintiffs also allege that
9    Defendants, as a result of its nationwide policies and practices, failed to pay all
10   overtime and double time wages at the proper rates by failing to pay one-and-a-
11   half (1.5) times the regular rate of pay and by failing to include bonuses,
12   commissions, and other incentive pay into employees’ regular rate of pay for
13   purposes of calculating overtime, and double the regular rate of pay when
14   applicable in violation of federal law.
15         4.     At all relevant times herein, Defendants, have consistently
16   maintained and enforced against Plaintiffs’ Class the following unlawful practices
17   and policies: a) willfully refusing to pay Plaintiffs and Plaintiffs’ Class for all
18   hours worked, b) failing to provide Plaintiffs and Plaintiffs’ Class with meal
19   and/or rest periods or compensation in lieu thereof; c) willfully refusing to
20   compensate Plaintiffs and Members of the Plaintiffs’ Class wages due and owing
21   at the end of their employment with Defendants; d) willfully refusing to furnish to
22   Plaintiffs and Plaintiffs’ Class accurate itemized wage statements upon payment
23   of wages; and (e) willfully failing to reimburse business expenses.
24                            JURISDICTION AND VENUE
25         5.     Venue is proper in this judicial district because the Defendant
26   maintains its location and transacts business in the County of Los Angeles, the
27   obligations and liability arise in this county, and work was performed by Plaintiffs
28   and Members of the proposed class made the subject of this action in the County
                                                3

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1    of Los Angeles, California.
2          6.     This Court has jurisdiction over Defendants’ violations of the FLSA
3    pursuant to 29. U.S.C. § 216 and 28 U.S.C. § 1331 because the action asserts
4    rights arising under federal law. This Court has supplemental jurisdiction over the
5    California state law claims because they are so related to this action that they form
6    part of the same case or controversy under Article III of the United States
7    Constitution.
8                                     THE PARTIES
9          A.     Plaintiffs
10         7.     Plaintiffs at various relevant times herein, were employees of
11   Defendants and entitled to compensation for all hours worked and penalties.
12   Plaintiffs were employed by Defendants within one (1) year prior to the
13   commencement of this action, in the County of Los Angeles and at all times
14   herein relevant. Plaintiffs were employed by Defendants during the Class Period
15   in non-exempt hourly and/or commission positions. Each of the Plaintiffs’ Class
16   Members are identifiable, current and/or formerly similarly situated persons who
17   were employed by Defendants as non-exempt hourly and/or commission
18   employees in California during the Class Period.
19         B.     Defendants
20         8.     Plaintiffs are informed and believe, and based thereon allege that
21   Defendant IPPH is a Delaware corporation that sells retail pet products and
22   provides grooming services, among other things. Plaintiffs are informed and
23   believe, and based thereon allege that IPPH has approximately 107 locations in
24   nine states (i.e., California, Illinois, Colorado, Texas, Virginia, Massachusetts,
25   New Hampshire, Maryland, and Maine) and Washington, D.C. Plaintiffs are
26   informed and believe, and based thereon allege that IPPH is and/or was the
27   employer of Plaintiffs and Plaintiffs’ Class during the Class Period. During the
28   Class Period, IPPH employed Plaintiffs and similarly situated persons and failed
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1    to pay Plaintiffs and Plaintiffs’ Class for all hours worked, failed to provide meal
2    periods or pay a meal period penalty in lieu thereof, failed to provide rest periods
3    or pay a rest period penalty in lieu thereof, failed to pay all wages upon separation
4    of employment, failed to provide accurate itemized wage statements, and failed to
5    reimburse business expenses. Plaintiffs, on information and belief, and based
6    thereon allege that IPPH is conducting business in good standing in California.
7          9.     Plaintiffs are informed and believe, and based thereon allege that
8    KNP is an Illinois corporation with its principal place of business in Santa
9    Monica, California. Plaintiffs are informed and believe, and based thereon allege
10   that KNP provides pet services, such as, grooming, daycare, washing, training,
11   and veterinary services in dozens of stores in four states (i.e., California,
12   Colorado, Illinois, and Texas). Plaintiffs are informed and believe, and based
13   thereon allege that IPPH purchased KNP in or around 2017. Plaintiffs are
14   informed and believe, and based thereon allege that KNP is and/or was the
15   employer of Plaintiffs and Plaintiffs’ Class during the Class Period. During the
16   Class Period, KNP employed Plaintiffs and similarly situated persons and failed to
17   pay Plaintiffs and Plaintiffs’ Class for all hours worked, failed to provide meal
18   periods or pay a meal period penalty in lieu thereof, failed to provide rest periods
19   or pay a rest period penalty in lieu thereof, failed to pay all wages upon separation
20   of employment, failed to provide accurate itemized wage statements, and failed to
21   reimburse business expenses. Plaintiffs, on information and belief, and based
22   thereon allege that KNP is conducting business in good standing in California.
23         10.    Plaintiffs are ignorant of the true names, capacities, relationships and
24   extent of participation in the conduct herein alleged, of the Defendants sued herein
25   as DOES 1 through 50, inclusive, but on information and belief allege that said
26   Defendants are legally responsible for the payment of unpaid wages, rest and meal
27   period compensation, and penalties, among other things, to Plaintiffs’ Class
28   Members by virtue of their unlawful practices, and therefore sue these Defendants
                                               5

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1    by such fictitious names. Plaintiffs will amend this Complaint to allege the true
2    names and capacities of the DOE Defendants when ascertained.
3          11.    Plaintiffs are informed and believe, and based thereon allege, that
4    each Defendant acted in all respects pertinent to this action as the agent of the
5    other Defendant, carried out a joint scheme, business plan or policy in all respects
6    pertinent hereto, and the acts of each Defendant are legally attributable to the
7    other Defendant.
8                              GENERAL ALLEGATIONS
9          12.    During all, or a portion of the Class Period, Plaintiffs and each
10   member of the Plaintiffs’ Class was employed by Defendant and each of them,
11   throughout the United States. Plaintiffs and each of the Plaintiffs’ Class Members
12   were non-exempt employees covered under state and federal law, one or more
13   IWC Wage Orders, Cal. Labor Code §§ 204, 510, 1182.12, 1194, 1197, 1198, 29
14   U.S.C. §§ 206, 207, 29 C.F.R. § 778.315, regulations and statutes, and each
15   Plaintiffs’ Class Member was not subject to an exemption which imposed
16   obligations on the part of Defendants to pay Plaintiffs and Plaintiffs’ Class
17   Members for all hours worked. In addition, Plaintiffs and Plaintiffs’ Class were
18   covered by one or more IWC Wage Orders, and Cal. Labor Code §§ 226.7, 512,
19   regulations and statutes which imposed an obligation on the part of the Defendants
20   to provide Plaintiffs and Plaintiffs’ Class with meal and rest periods or
21   compensation in lieu thereof. Further, Plaintiffs and Plaintiffs’ Class were covered
22   by Cal. Labor Code §§ 2800 and 2802, applicable wage orders, regulations and
23   statutes which imposed an obligation on the part of Defendants to reimburse
24   Plaintiffs and Plaintiffs’ Class for necessary business expenditures. Plaintiffs and
25   Plaintiffs’ Class Members were also covered Cal. Labor Code §§ 201, 202, 203,
26   204, 226, and applicable regulations and statutes which imposed an obligation on
27   the part of Defendants to provide Plaintiffs and Plaintiffs’ Class with accurate
28   wage statements and all wages due upon termination of employment.
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1          13.   Business and Professions Code § 17203 provides that any person
2    who engages in unfair competition may be enjoined in any court of competent
3    jurisdiction. Further Business and Professions Code § 17204 provides that any
4    person who has suffered actual injury and has lost money or property as a result of
5    the unfair competition may bring an action in a court of competent jurisdiction.
6          14.   Plaintiff WESTLEY ROBINSON began working for Defendants in
7    or around July 2013 as a non-exempt hourly Bather. In or around 2015, Mrs.
8    Robinson was employed as a Groomer and was initially paid an hourly wage plus
9    commissions, and later as a purely commission employee until the end of his
10   employment on or about February 2, 2019.
11         15.   Plaintiff LUTHER COCKRILL began working for Defendants in or
12   around August 2017 as a bather and was paid an hourly rate of $12.00. Mr.
13   Cockrill earned $13.25 by the end of his employment in or around February 2019.
14   During his employment, Mr. Cockrill worked for Defendants’ locations in
15   Valencia and Westlake Village, California.
16         16.   Defendants failed to pay Plaintiffs and Plaintiffs’ Class for all hours
17   worked by (1) failing to pay minimum wages for non-productive time; (2) failing
18   to pay minimum wage for time spent during rest breaks; (3) failing to pay
19   minimum and/or overtime wages for work performed off-the-clock; (4) failing to
20   pay overtime at one-and-one-half (1.5) times the employee’s regular rate of pay
21   and/or double the regular rate of pay; and (5) failing to include bonuses,
22   commissions, and other incentive pay into the employee’s regular rate of pay for
23   purposes of calculating overtime.
24         17.   Defendants failed to pay Plaintiffs for all hours worked under state
25   and federal law. For example, since in or around 2015 when Plaintiff Robinson
26   became a Groomer, she was not paid for all hours worked for each week of her
27   employment beginning in or around 2015 to on or about February 2, 2019. Mrs.
28   Robinson was a full-time employee and worked Thursday through Monday. Mrs.
                                              7

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1    Robinson’s scheduled start time was 8:00 a.m. However, Mrs. Robinson was
2    required to arrive earlier (e.g., 7:00 a.m.) in order to prepare and be available to
3    begin grooming services by 8:00 a.m. Despite arriving to work earlier and
4    beginning her job duties prior to her scheduled start time, Mrs. Robinson was
5    required to clock in around her scheduled start time. In addition, Mrs. Robinson
6    was regularly required to clock out at the end of her scheduled end time (e.g., 6:00
7    p.m.) and continue cleaning and completing paperwork off-the-clock (e.g., until
8    7:00 p.m.). For example, on January 6, 2019, Mrs. Robinson clocked in at 8:01
9    a.m. and clocked out at 6:00 p.m. As such, Defendants failed to pay Mrs.
10   Robinson for time spent before and after her scheduled shift. Similarly, from
11   August 2017 until April 2018, while working in Valencia, Plaintiff Cockrill would
12   work 10 to 12 hours per workday but was required to clock out and continue
13   working after eight (8) to 10 hours. While working in Westlake Village from
14   August 2018 until the end of his employment in February 2019, Mr. Cockrill was
15   required to work one to two hours off-the-clock per workweek.
16         18.    In addition, Defendants failed to pay minimum wages for non-
17   productive time or for time spent during rest breaks to commission only
18   employees. For example, during the pay period beginning on December 23, 2018
19   and ending on January 5, 2019, Plaintiff Robinson worked 48 hours of regular
20   time and 16.45 hours of overtime. During this pay period, Defendants failed to
21   pay any regular or overtime wages, and instead paid Mrs. Robinson a Groomer
22   Commission in the amount of $2,007.00, holiday pay of $391.37, paid-time-off of
23   $391.37, and tips of $337.20. As such, Defendants failed to pay at the least the
24   minimum wage for time spent during rest periods as well as any non-productive
25   time such as completing paperwork, cleaning, and preparing for work.
26         19.    Defendants also failed to pay overtime wages at one-and-one-half
27   times Plaintiffs’ regular rate of pay and/or include any bonuses or other incentive
28   pay when calculating Plaintiffs’ overtime rate of pay. For example, for the pay
                                              8

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1    period beginning on August 5, 2018 and ending on August 18, 2018, Defendants
2    paid Mr. Cockrill’s overtime at a rate of $19.325. Mr. Cockrill’s regular rate of
3    pay during that period was $13.25, meaning his overtime rate was $19.875, a
4    difference of $.55 per overtime hour worked. The same violations were occurring
5    during the beginning of Mr. Cockrill’s employment, for example for the pay
6    period beginning on August 6, 2017 and ending on August 19, 2017, Defendants
7    paid Mr. Cockrill’s overtime at a rate of $16.20 with a regular rate of $12.00 an
8    hour. As such, Defendants underpaid Plaintiff Cockrill for his overtime
9    compensation since his overtime rate for that period was $18.00 per hour, a
10   difference of $1.80 per overtime hour worked. Defendants also failed to pay any
11   overtime to Plaintiff Robinson for the period beginning on April 16, 2017 to April
12   29, 2017. During that period, the wage statement shows that Mrs. Robinson
13   worked 8.85 hours of overtime but he was paid no overtime wages.
14        20.    During the Class Period, Defendants, and each of them failed and/or
15   refused to schedule Plaintiffs and Plaintiffs’ Class in an overlapping manner so as
16   to reasonably provide shift relief for meal and/or rest breaks, thereby causing
17   Members of the Plaintiffs’ Class to work without being given paid ten (10) minute
18   rest periods for every four (4) hours or major fraction thereof worked and without
19   being given a timely thirty (30) minute meal period for shifts of at least five (5)
20   hours and second thirty (30) minute meal periods for shifts of at least ten (10)
21   hours during which Plaintiffs’ Class were relieved of all duties and free to leave
22   the premises. Furthermore, Defendants failed and/or refused to pay Plaintiffs’
23   Class one (1) hour's pay at the employees’ regular rate of pay as premium
24   compensation for failing to provide compliant meal and/or rest periods.
25         21.   Defendants knew Plaintiffs were working through their meal periods
26   and were not being compensated for that time. Plaintiff Robinson regularly was
27   denied compliant meal periods, and was not compensated, from in or around 2015
28   until the end of her employment on or about February 2, 2019. During these
                                              9

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1    workweeks, Mrs. Robinson’s meal periods were regularly late, interrupted,
2    shortened or missed roughly four to five times per workweek as a result of
3    overscheduling and instructions from her supervisors to return to the floor and
4    continue working during her meal periods. In addition, throughout the course of
5    her employment, Defendants failed to provide Mrs. Robinson with a second meal
6    period despite working over 10 hours. For example, on January 20, 2019, Mrs.
7    Robinson worked from 7:50 a.m. to 6:55 p.m. without clocking out for a first or
8    second meal period. Likewise, during the course of Plaintiff Cockrill’s
9    employment from in or around August 2017 until the end of his employment in or
10   around February 2019, Defendants failed to provide complaint meal periods
11   roughly four to five times per workweek, and failed to provide second meal
12   periods despite Mr. Cockrill regularly working in excess of 10 hours per workday.
13   Defendants failed to pay Plaintiffs meal period premiums for every workday when
14   a meal period violation occurred.
15         22.    Plaintiff Robinson was regularly denied complaint rest breaks due to
16   understaffing from in or around 2015 until the end of his employment on or about
17   February 2, 2019. During these workweeks, Mrs. Robinson never received 10-
18   minute rest periods roughly four to five times per workweek as a result of
19   overscheduling and understaffing. Similarly, from August 2017 to February 2019,
20   Plaintiff Cockrill was not authorized or permitted to take any rest periods.
21   Defendants also failed to pay Plaintiffs rest period premiums for every workday
22   that a rest period violation occurred.
23        23.     As a result of the violations mentioned above, Plaintiffs’ Class
24   Members who ended their employment during the Class Period were not timely
25   paid all compensation due upon separation of employment as required by Cal.
26   Labor Code §§ 201-203 and are entitled to penalties.
27        24.     Defendants’ wage statements were inaccurate and in violation of Cal.
28   Labor Code § 226 because it failed to accurately include gross and net wages
                                              10

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1    earned as a result of the above-mentioned violations, the applicable rates of pay
2    for all hours worked, and the correct name and address of the employer, among
3    other things. For example, for the pay period beginning on December 23, 2018
4    and ending on January 5, 2019, Defendants failed to include on Plaintiff
5    Robinson’s wage statement gross and net wages earned, hourly rate of pay for all
6    hours worked, and correct entity name. Similarly, for the pay period beginning on
7    February 3, 2019 and ending on February 16, 2019, Defendants failed to include
8    on Plaintiff Cockrill’s wage statement the gross and net wages earned and correct
9    entity name.
10        25.       Defendants knew or should have known that Plaintiff and Class
11   Members were entitled to receive business reimbursements for necessary
12   expenditures incurred in connection with the performance and execution of their
13   job duties. Defendants required Plaintiff Robinson to purchase brushes, clippers,
14   nail clippers, scissors, muzzles, leads, bandannas, and bows in an amount
15   estimated to be between $2,000.00 and $3,000.00 without reimbursement. In
16   violation of the Cal. Labor Code, Defendants failed to reimburse Plaintiff
17   Robinson and Class Members for these business-related expenditures.
18        26.       During the Class Period, the Defendant and each of them, required
19   Plaintiffs and Class Members to work without lawful compensation, in violation
20   of the California Labor Code, FLSA, applicable Wage Orders, regulations and
21   statutes, and Defendants: (1) Willfully failed and refused, and continue to fail and
22   refuse to pay compensation for all hours worked to the Plaintiffs’ Class Members;
23   and (2) willfully failed and refused, and continue to fail and refuse to pay due and
24   owing wages promptly upon termination of employment to Plaintiffs and
25   Plaintiffs’ Class Members.
26                           FLSA SPECIFIC ALLEGATIONS
27         27.      Plaintiffs bring claims on behalf of the nationwide FLSA Unpaid
28   Wage Subclass as an “opt-in” collective action pursuant to Section 16(b) of the
                                              11

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1    FLSA, 29 U.S.C. § 216. Plaintiffs and the FLSA Unpaid Wage Subclass are
2    similarly situated, have substantially similar job requirements and pay provisions,
3    and are subject to Defendants’ common practice, policy and/or plan of willfully
4    and intentionally refusing to pay for all hours worked in violation of the FLSA.
5    The claims of Plaintiffs under the FLSA are therefore similar to the claims of the
6    prospective FLSA Unpaid Wage Subclass.
7          28.    29 U.S.C. § 206 provides that an employer must pay the applicable
8    minimum wage.
9          29.    29 U.S.C. § 207 provides that overtime is to be paid at one and one-
10   half times the employee’s regular rate of pay.
11         30.    29 C.F.R. § 778.315 states “In determining the number of hours for
12   which overtime compensation is due, all hours worked (see § 778.223) by an
13   employee for an employer in a particular workweek must be counted. Overtime
14   compensation, at a rate not less than one and one-half times the regular rate of
15   pay, must be paid for each hour worked in the workweek in excess of the
16   applicable maximum hours standard. This extra compensation for the excess
17   hours of overtime work under the Act cannot be said to have been paid to an
18   employee unless all the straight time compensation due him for the nonovertime
19   hours under his contract (express or implied) or under any applicable statute
20   has been paid.” (29 C.F.R. § 778.315) (emphasis added.)
21         31.    29 C.F.R. § 778.316 states “…Since a lower rate cannot lawfully be
22   set for overtime hours it is obvious that the parties cannot lawfully agree that the
23   working time will not be paid for at all. An agreement that only the first 8 hours of
24   work on any days or only the hours worked between certain fixed hours of the day
25   or only the first 40 hours of any week will be counted as working time will clearly
26   fail of its evasive purpose….” (see 29 C.F.R. § 778.316)
27         32.    29 C.F.R. § 778.317 states “An agreement not to compensate
28   employees for certain nonovertime hours stands on no better footing since it
                                              12

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1    would have the same effect of diminishing the employee's total overtime
2    compensation.” (see 29 C.F.R. § 778.317)
3          33.    The “FLSA Unpaid Wage Subclass” is defined herein as all persons
4    who are or were employed by Defendants throughout the United States as non-
5    exempt employees and paid hourly and/or commissions, who were not paid wages
6    for all hours worked, during the three years immediately preceding the filing of
7    the Complaint through the present.
8          34.    Plaintiffs and the FLSA Unpaid Wage Subclass were and are hourly
9    and/or commission non-exempt employees who were employed under an express
10   and implied contract to receive compensation for all time worked.
11         35.    Defendants willfully and deliberately failed to pay Plaintiffs and
12   Plaintiffs’ Class for all time worked, specifically, by virtue of Defendants’ failure
13   to pay wages (1) for non-productive time and time spent during rest breaks for
14   employees paid purely on commissions, (2) for off-the-clock work in violation of
15   federal law, and (3) at the proper overtime rate of pay in violation of 29 U.S.C. §§
16   206, 207, and 29 C.F.R. § 778.315.
17                          CLASS ACTION ALLEGATIONS
18         36.    Plaintiffs bring this action on behalf of themselves and all other
19   similarly situated persons, as a class action pursuant to Fed. R. Civ. P. 23 on
20   behalf of themselves and all other similarly situated persons in the Class, which is
21   composed of and defined as follows:
22                a. The Meal Period Subclass: All persons who are
23                   employed or have been employed by Defendants in the
                     State of California, for the four years prior to the filing of
24
                     this class action to the present, as non-exempt employees
25                   and paid hourly and/or commissions, who at any point
                     during the Class Period were not provided off-duty meal
26
                     periods or one hour’s pay in lieu thereof, in violation of
27                   Cal. Labor Code §§ 226.7 and 512;
28

                                               13

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1                b. The Rest Period Subclass: All persons who are employed
2                   or have been employed by Defendants in the State of
                    California, for the four years prior to the filing of this
3
                    class action to the present, have worked as non-exempt
4                   employees and paid hourly and/or commissions, who at
                    any point during the Class Period and have not been
5
                    provided a rest period for every four hours or major
6                   fraction thereof worked per day, or one hour’s pay in lieu
7
                    thereof, in violation of Cal. Labor Code §§ 226.7 and
                    applicable IWC Wage Orders;
8

9                c. The Waiting Time Subclass: All persons who are or were
                    employed by Defendants in the State of California at any
10
                    point during the Class Period, for the three years prior to
11                  the filing of this class action to the present, worked as
12
                    non-exempt employees and were paid hourly and/or
                    commissions, who have been terminated or resigned, that
13                  have not been paid wages pursuant to Cal. Labor Code §
14                  203 and are owed restitution for waiting time penalties
                    for unpaid wages;
15

16               d. The California Unpaid Wage Subclass: All persons who
                    are or were employed by Defendants in the State of
17
                    California at any point during the Class Period, for the
18                  four years prior to the filing of this class action to the
19                  present, worked as non-exempt employees and were paid
                    hourly and/or commissions, who at any point during the
20                  Class Period were not paid all wages owed;
21
                 e. The FLSA Unpaid Wage Subclass: All persons who are
22
                    or were employed by Defendants throughout the United
23                  States as non-exempt employees and were paid hourly
24
                    and/or commissions, who were not paid wages for all
                    hours worked, during the three years immediately
25                  preceding the filing of the Complaint through the present;
26
                 f. The Wage Statement Subclass: All persons who are
27
                    employed or have been employed by Defendants in the
28                  State of California, for the four years prior to the filing of
                                              14

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1                        this class action to the present, have worked as non-
2                        exempt employees and were paid hourly and/or
                         commissions, who were not provided accurate payroll
3
                         records as required by Cal. Labor Code §§ 226, 226.2,
4                        and 1174; and
5
                    g. The Reimbursement Subclass: All persons who are
6                      employed or have been employed by Defendants in the
7
                       State of California, for the four years prior to the filing of
                       this class action to the present, worked as non-exempt
8                      employees and were paid hourly and/or commissions,
9                      who were not reimbursed for necessary business
                       expenses incurred.
10

11            37.   Plaintiffs reserve the right to amend or modify the Plaintiffs’ Class
12   descriptions with greater specificity or further division into Subclasses or
13   limitation to particular issues.
14            38.   This action has been brought and may be maintained as a class action
15   pursuant to Fed. R. Civ. P. 23 because there is a well-defined common interest
16   among numerous individuals, and it is impractical to bring them all before the
17   court.
18                       COMMON QUESTIONS OF LAW AND FACT
19            39.   Common questions of law and fact exist as to all Members of the
20   Subclasses that predominate over any questions affecting individual Members,
21   including, but not limited to, the following:
22                  a.     Whether Defendants violated Cal. Labor Code §§ 204, 510,
23   1182.12, 1194, 1197, 1198, and the applicable IWC Wage Orders by failing to pay
24   all wages, including minimum and overtime wages earned and due to Plaintiffs
25   and the Unpaid Wage Subclass;
26                  b.     Whether Defendants violated 29 U.S.C. §§ 206, 207, and 29
27   C.F.R. § 778.315 by failing to pay for all hours worked, including minimum and
28   overtime wages to Plaintiff and the FLSA Unpaid Wage Subclass;
                                                 15

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1                 c.     Whether Defendant violated Cal. Labor Code §§ 226, 226.2,
2    and 1174 by failing to furnish accurate wage statements to Plaintiffs and the Wage
3    Statement Subclass;
4                 d.     Whether Plaintiffs and the Waiting Time Subclass Members
5    are entitled to penalties pursuant to Cal. Labor Code § 203;
6                 e.     Whether Defendants violated the meal break provisions of Cal.
7    Labor Code §§ 226.7, 512, and the applicable IWC Wage Orders by failing to
8    provide Plaintiffs and the Meal Period Subclass proper meal periods or
9    compensation in lieu thereof;
10                f.     Whether Defendant violated the rest break provisions of Cal.
11   Labor Code Sections 226.7 and the applicable IWC Wage Orders by failing to
12   authorize or permit Plaintiffs and the Rest Period Subclass to take compliant rest
13   periods or compensation in lieu thereof;
14                g.     Whether Defendant violated the provisions of Cal. Labor Code
15   Sections 2800 and 2802 by failing to reimburse Plaintiffs and the Reimbursement
16   Subclass for necessary business expenditures; and
17                h.     What is the proper measure of damages sustained by Members
18   of the California and FLSA Subclasses?
19         40.    The typicality of the claims or defenses of the putative class
20   representatives and the potential class are similar:
21                (a)    The questions of law and fact common to the Class
22   predominate over any question affecting only individual Members;
23                (b)    Plaintiffs’ claims are typical of those of the California and
24   FLSA Unpaid Wage Subclasses. Plaintiffs, like other Members of the California
25   and FLSA Unpaid Wage Subclasses, were subjected to Defendants’ policy and
26   practice of refusing to pay for all hours worked in violation of California and
27   federal law. Plaintiffs’ job duties and compensation were also typical of other
28   Members of the California and FLSA Unpaid Wage Subclasses.
                                                16

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1                    (c)    Plaintiffs’ claims are also typical of those in the Meal and Rest
2    Period Subclasses. Plaintiffs, like all Members of the Meal and Rest Period
3    Subclasses were subjected to Defendants’ policy and practice of refusing to
4    provide compliant meal and rest breaks or compensation under California law.
5                    (d)    Plaintiffs’ claims are also typical of those of the Wage
6    Statement Class. Plaintiffs, like other Members of the Wage Statement Subclass,
7    were subjected to Defendants’ policy and practice of issuing wage statements that
8    failed to include gross and net wages earned, applicable hourly rates for all hours
9    worked, and employer’s information in violation of California law.
10                   (e)    Plaintiffs’ claims are also typical of those of the Waiting Time
11   Subclass. Plaintiffs, like other Members of the Waiting Time Subclass were
12   subjected to Defendants’ policy and practice of refusing to provide statutory meal
13   and rest breaks or compensation in lieu thereof, and pay all wages, among other
14   things in violation of California law. As a result of these violations, Defendants
15   were required to timely pay Plaintiffs all wages due at the end of the employment
16   relationship.
17                   (f)    Plaintiffs’ claims are also typical of Members of the
18   Reimbursement Subclass. Plaintiffs, like all Members of the Reimbursement
19   Subclass were subjected to Defendants’ policy and practice of refusing to
20   reimburse Plaintiffs for necessary business expenditures in violation of California
21   law.
22          41.      Based on the preceding paragraphs, there is a community of interest
23   in obtaining appropriate legal and equitable relief for the common law and
24   statutory violations, and other improprieties, and in obtaining adequate
25   compensation for the damages and injuries that Defendants have inflicted upon
26   the Plaintiffs’ Class.
27          42.      Plaintiffs will fairly and adequately represent and protect the interests
28   of all the various Subclass Members because they have no disabling conflicts of
                                                  17

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1    interest that would be antagonistic to those of the other Class Members. Plaintiffs
2    have retained counsel who are competent and experienced in class action wage-
3    and-hour litigation.
4          43.    Collective and class treatment is superior to alternative methods to
5    adjudicate this dispute because Plaintiffs and other Class Members suffered
6    similar treatment and harm as a result of systematic policies and practices of
7    Defendants, and because, absent a class and collective action, Defendants’
8    unlawful conduct will be unabated given that the damages suffered by individual
9    Class Members are small compared to the expense and burden of individual
10   litigation. Class certification is also superior because it will obviate the need for
11   unduly duplicative litigation that might result in inconsistent judgments regarding
12   Defendants’ practices. Moreover, Plaintiffs and the other Members of the
13   Plaintiffs’ Class will not be able to obtain effective and economic legal redress
14   unless the action is maintained as a class action.
15         44.    The Class is so numerous (in excess of hundreds of individuals) that
16   it is impractical to bring all Members of the Class before the Court.
17         45.    There is a community of interest in ensuring that the combined assets
18   and available insurance of the Defendants is sufficient to adequately compensate
19   Members of the Class for the injuries sustained.
20         46.    Without class certification, the prosecution of separate actions by
21   individual Members of the Class would create a risk of:
22                (1) Inconsistent or varying adjudications with respect to individual
23   Members of the Class that would establish incompatible standards of conduct for
24   Defendants; and
25                (2) Adjudications with respect to the individual Members which
26   would, as a practical matter, be dispositive of the interests of other Members not
27   parties to the adjudications, or would substantially impair or impede their ability
28   to protect their interests, including but not limited to, the potential for exhausting
                                               18

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1    the funds available.
2          47.    The named Plaintiffs are fully prepared to take all necessary steps to
3    represent fairly and adequately the interests of the Class defined above. Plaintiffs’
4    attorneys are competent, ready, willing and able to fully and adequately represent
5    the Class and individually named Plaintiffs. Plaintiffs’ attorneys have prosecuted
6    and settled numerous wage-and-hour class actions in the past and currently have a
7    number of wage-and-hour class actions pending in federal and California courts.
8                               FIRST CAUSE OF ACTION
9                       Violation of the Fair Labor Standards Act
10                      29 U.S.C. §§ 206, 207, and C.F.R. § 778.315
11                                (Against All Defendants)
12         48.    Plaintiffs and Plaintiffs’ Class incorporate all preceding paragraphs
13    of this Complaint as if fully alleged herein.
14         49.    This claim is brought pursuant to 29 U.S.C. § 206, which requires
15    employers to pay all non-exempt employees at least the minimum wage for all
16    hours worked and 29 U.S.C. § 207, which requires an employer to pay employees
17    the federally mandated overtime premium rate of one and a half times their
18    regular rate of pay for every hour worked in excess of forty (40) hours per
19    workweek.
20         50.    29 U.S.C., § 216 provides that “[a]ny employer who violates the
21   provisions of Section 206 or 207 of this Title shall be liable to the employee or
22   employees affected in the amount of their unpaid minimum wages, or their unpaid
23   overtime compensation, as the case may be, and in an additional equal amount as
24   liquidated damages.”
25         51.    29 C.F.R. § 778.315 states “In determining the number of hours for
26    which overtime compensation is due, all hours worked (see § 778.223) by an
27    employee for an employer in a particular workweek must be counted. Overtime
28    compensation, at a rate not less than one and one-half times the regular rate of
                                               19

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1     pay, must be paid for each hour worked in the workweek in excess of the
2     applicable maximum hours standard. This extra compensation for the excess
3     hours of overtime work under the Act cannot be said to have been paid to an
4     employee unless all the straight time compensation due him for the nonovertime
5     hours under his contract (express or implied) or under any applicable statute has
6     been paid.” (29 C.F.R. § 778.315) (emphasis added.)
7          52.    29 C.F.R. § 778.316 states “…Since a lower rate cannot lawfully be
8     set for overtime hours it is obvious that the parties cannot lawfully agree that the
9     working time will not be paid for at all. An agreement that only the first 8 hours
10    of work on any days or only the hours worked between certain fixed hours of the
11    day or only the first 40 hours of any week will be counted as working time will
12    clearly fail of its evasive purpose….” (see 29 C.F.R. § 778.316)
13         53.    29 C.F.R. § 778.317 states “An agreement not to compensate
14    employees for certain nonovertime hours stands on no better footing since it
15    would have the same effect of diminishing the employee's total overtime
16    compensation.” (see 29 C.F.R. § 778.317)
17         54.    Defendants and the FLSA Unpaid Wage Subclass did not enter into
18    any agreement, express or implied, pertaining to the payment or non-payment of
19    overtime compensation.
20         55.    Plaintiffs and the FLSA Unpaid Wage Subclass are non-exempt
21    employees that were paid hourly and/or commissions who were employed under
22    an express and implied contract to receive compensation for all time worked.
23         56.    Plaintiffs are informed and believe and based thereon allege that
24    Plaintiffs and the FLSA Unpaid Wage Subclass were not exempt from overtime
25    pay in that they did not meet any applicable exemptions under federal law.
26         57.    Plaintiffs and the FLSA Unpaid Wage Subclass worked more than 40
27    hours per week, without being paid the proper overtime pay as required by the
28    FLSA
                                               20

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1           58.   Plaintiffs are informed and believe, and thereon allege, that
2     Defendants regularly and systematically, as a policy and practice, failed to pay
3     Plaintiffs and Plaintiffs’ Class Members wages for all hours worked by (1) failing
4     to pay the applicable minimum and overtime wage for off-the-clock work before
5     and after their scheduled shifts, and during meal periods; (2) failing to pay the
6     applicable minimum wage for non-productive time and time spent during rest
7     breaks for employees paid purely commissions; and (3) failing to pay all
8     overtime wages at the proper rates by failing to pay one-and-a-half (1.5) times the
9     regular rate of pay and by failing to include bonuses, commissions, and other
10    incentive pay into employees’ regular rate of pay for purposes of calculating
11    overtime in violation of federal law.
12          59.   Plaintiffs and Members of the FLSA Unpaid Wage Subclass were not
13    compensated for all hours worked.
14          60.   Defendants’ policies and practices alleged herein violate the FLSA’s
15    minimum wage and overtime compensation requirements including, but not
16    limited to, 29 U.S.C. §§ 206, 2017 and 29 C.F.R. § 778.315.
17          61.   Defendants’ policies and practices, as alleged herein, constitute a
18    willful violation of the FLSA, within the meaning of 29 U.S.C. § 255.
19          62.   Defendants’ conduct in failing to pay wages as hereinabove alleged
20    was willful, in that Defendants knew that their conduct violated the FLSA, or
21    showed reckless disregard as to whether their conduct violated the FLSA.
22          63.   Defendants’ policies and practices of failing to compensate Plaintiffs
23    and Members of the FLSA Unpaid Wage Subclass for hours all hours worked at
24    the proper rates, create an entitlement to recovery for the outstanding unpaid
25    wages amount at the proper rates for the three years prior to the filing of this
26    Complaint until entry of judgment, including liquidated damages, attorneys’ fees
27    and costs, and interest thereon, pursuant to 29 U.S.C. § 216.
28    ///
                                              21

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1                             SECOND CAUSE OF ACTION
2                    Failure to Pay All Wages for All Hours Worked
3                Cal. Labor Code §§ 204, 206, 1182.12, 1194, 1197, 1198
4                                 (Against All Defendants)
5          64.    Plaintiffs and Plaintiffs’ Class incorporate all preceding paragraphs
6    of this Complaint as if fully alleged herein.
7          65.    Any employee receiving less than the legal minimum wage or legal
8    overtime compensation is entitled to recover in a civil action the amount of unpaid
9    wages, attorneys’ fees, and costs of suit. Cal. Lab. Code, § 1194(a).
10
           66.    Cal. Labor Code section 1182.12 provides that on and after July 1,
11
     2014, the minimum wage for all industries shall not be less than nine dollars
12
     ($9.00) per hour, and on and after January 1, 2016, the minimum wage for all
13
     industries shall not be less than ten ($10.00) per hour. For employers who
14
     employed 26 or more people from January 1, 2017 to December 31, 2017, the
15
     minimum wage rate in California was ten dollars and fifty cents ($10.50) per hour.
16
     From January 18, 2018 to December 31, 2018, the minimum wage rate in
17
     California was eleven dollars ($11.00) per hour. From January 1, 2019 to
18

19
     December 31, 2019, the minimum wage rate in California is twelve dollars

20
     ($12.00) per hour. Plaintiff is informed and believes Defendants employed more

21   than 26 employees.
22         67.    Notwithstanding any other provision of the Cal. Labor Code, hourly
23   minimum wage rates are set for all industries according to statute. Cal. Lab. Code
24   § 1182.12. Employers must pay employees no less than minimum wage for each
25   hour worked. Cal. Lab. Code § 1194.
26         68.    In any action to recover payment of wages less than the minimum
27   wage an employee shall be entitled to recover liquidated damages in an amount
28   equal to the wages unlawfully unpaid and interest thereon. Cal. Lab. Code §
                                               22

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1    1194.2.
2          69.     Any work in excess of eight (8) hours in any workday and any work
3    in excess of forty (40) hours in a workweek, shall be compensated at a rate of no
4
     less than one and one-half times the regular rate of pay for an employee. Cal. Lab.
5
     Code § 510(a). Any work in excess of twelve (12) hours in a workday shall be
6
     compensated at the rate of twice the regular rate of pay for an employee. Cal. Lab.
7
     Code, § 510(a).
8
           70.     All wages earned in employment are due and payable twice during
9
     each calendar month on dates designated in advance by the employer. Cal. Lab.
10
     Code § 204.
11
           71.     In case of a dispute over wages, the employer shall pay, without
12

13
     condition and promptly under the Labor Code all wages conceded due, leaving to

14
     the employee all remedies he/she is otherwise entitled to as to any balance

15   claimed. Cal. Lab. Code, § 206.
16         72.     Plaintiffs and the California Unpaid Wage Subclass regularly worked
17   over eight (8) hours per day, 12 hours per day, and 40 hours per week.
18         73.     Plaintiffs are informed and believe, and thereon allege, that
19    Defendants regularly and systematically, as a policy and practice, failed to pay
20    Plaintiffs and the California Unpaid Wage Subclass wages for all hours worked
21    by (1) failing to pay the applicable minimum and overtime wage for off-the-clock
22    work before and after their scheduled shifts, and during meal periods; (2) failing
23    to pay the applicable minimum wage for non-productive time and time spent
24    during rest breaks for employees paid purely commissions; (3) failing to pay all
25    overtime wages at the proper rates by failing to pay one-and-a-half (1.5) times the
26    regular rate of pay and by failing to include bonuses, commissions, and other
27    incentive pay into employees’ regular rate of pay for purposes of calculating
28    overtime in violation of federal law; and (4) failing to pay double time.
                                               23

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1          74.    Defendants willfully violated the Cal. Labor Code by failing to pay
2     Plaintiffs and the California Unpaid Wage Subclass all wages including
3     minimum and overtime wages for all hours worked.
4          75.    As such Plaintiffs and the California Unpaid Wage Subclass seek
5    unpaid wages in an amount according to proof. Pursuant to Cal. Labor Code §
6    1194, the Class Members seek the payment of all compensation which they earned
7    and accrued four (4) years prior to filing this Complaint, according to proof.
8          76.    Additionally, Plaintiffs and the California Unpaid Wage Subclass are
9    entitled to attorneys’ fees and costs, pursuant to Cal. Labor Code § 1194 and Code
10   of Civil Procedure section 1021.5, and prejudgment interest.
11                             THIRD CAUSE OF ACTION
12         Failure to Provide Meal Periods or Compensation in Lieu Thereof
13                            Cal. Labor Code §§ 226.7 and 512
14                                (Against All Defendants)
15         77.     Plaintiffs and Plaintiffs’ Class incorporate all preceding paragraphs
16   of this Complaint as if fully alleged herein.
17         78.    Cal. Labor Code §§ 226.7 and 512, provide that no employer shall
18   employ any person for a work period of more than five (5) hours without
19   providing a meal period of not less than thirty (30) minutes or employ any person
20   for a work period of more than ten (10) hours without a second (2nd) meal period
21   of not less than thirty (30) minutes.
22         79.     Cal. Labor Code § 226.7 provides that if an employer fails to
23   provide an employee a meal period in accordance with this section, the employer
24   shall pay the employee one (1) hour of pay at the employee's regular rate of
25   compensation for each workday that the meal period is not provided in accordance
26   with this section.
27         80.    At all relevant times, Plaintiffs and the Meal Period Subclass worked
28   in excess of five (5), and 10 hours in a workday.
                                               24

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1          81.    Defendants failed to schedule non-exempt employees in an
2    adequately overlapping manner so as to reasonably ensure Plaintiffs and the Meal
3    Period Subclass could take and/or receive such meal periods within the statutory
4    timeframe. As a result, Plaintiffs and the Meal Period Subclass were often forced
5    to clock out for meal periods and continue working during their meal periods or
6    have their meal periods cut short of 30 minutes. Defendants also failed to provide
7    second meal periods.
8          82.    In so doing, Defendants have intentionally and improperly denied
9    meal periods to Plaintiffs and the Meal Period Subclass in violation of Cal. Labor
10   Code §§ 226.7 and 512 and other regulations and statutes.
11         83.    Due to Defendants’ failure to schedule relief from duty, the refusal of
12   supervisors to cover Plaintiffs, and supervisors demand that work be completed
13   during meal periods, Plaintiffs missed four to five meal breaks per workweek and
14   never received a second meal break.
15         84.    Furthermore, Defendants failed to provide Plaintiffs and the Meal
16   Period Subclass with duty free meal periods in violation of Cal. Labor Code §§
17   226.7 and 512 because Plaintiffs and the Meal Period Subclass were frequently
18   asked to return to work prior to completing their thirty-minute meal break.
19         85.    Defendants failed to pay one additional hour of pay at Plaintiffs and
20   the Meal Period Subclass Members’ regular rate of pay for each workday that a
21   meal period violation occurred.
22         86.    By virtue of the Defendants’ failure to schedule Plaintiffs and the
23   Meal Period Subclass in such a way as to provide meal periods, Plaintiffs and the
24   Meal Period Subclass suffer, and will continue to suffer, damages in the amounts
25   which are presently unknown, but which exceed the jurisdictional limits of this
26   Court and which will be ascertained according to proof at trial.
27         87.    Plaintiffs individually, and on behalf of the Meal Period Subclass
28   request recovery of meal period compensation pursuant to Cal. Labor Code §
                                              25

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1    226.7 which they are owed beginning four (4) years prior to filing this Complaint
2    as well as the assessment of any statutory penalties against Defendants in a sum as
3    provided by the Cal. Labor Code and/or other statutes.
4                                 FOURTH CAUSE OF ACTION
5                Failure to Provide Rest Period or Compensation in Lieu Thereof
6                  Cal. Labor Code §§ 226.7 and applicable IWC Wage Orders
7                                     (Against All Defendants)
8          88.     Plaintiffs and Plaintiffs’ Class incorporate all preceding paragraphs
9    of this Complaint as if fully alleged herein.
10         89.     Cal. Labor Code § 226.7 provides that employers authorize and
11   permit all employees to take rest periods at the rate of ten (10) minutes rest time
12   per four (4) work hours.
13         90.     Cal. Labor Code § 226.7(b) provides that if an employer fails to
14   provide an employee rest periods in accordance with this section, the employer
15   shall pay the employee one (1) hour of pay at the employee's regular rate of
16   compensation for each workday that the rest period is not provided.
17         91.     At all times relevant hereto, Plaintiffs and Plaintiffs’ Class, have
18   worked more than four (4) hours, six (6) hours, and/or 10 hours in a workday.
19         92.     Defendants failed and or refused to implement a relief system by
20   which Plaintiffs and the Rest Period Subclass could receive compliant rest
21   periods. Due to Defendants’ relief system, Plaintiffs and the Rest Period Subclass
22   did not receive their rest periods within the required statutory time frame. By and
23   through their actions, Defendants intentionally and improperly denied rest periods
24   to the Plaintiffs and the Rest Period Subclass in violation of Cal. Labor Code §§
25   226.7 and 512.
26         93.     Plaintiffs regularly had their rest period denied roughly four (4) to (5)
27   times per workweek. Plaintiffs never received third rest breaks and rarely received
28   any rest breaks.
                                                26

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1            94.   By virtue of Defendants’ unlawful failure to provide rest periods to
2    Plaintiffs and Plaintiffs’ Class as a result of their scheduling and shift relief
3    system, Plaintiffs and the Rest Period Subclass have suffered, and will continue to
4    suffer, damages, in amounts which are presently unknown, but which exceed the
5    jurisdictional limits of this Court and which will be ascertained according to proof
6    at trial.
7            95.   Plaintiffs, themselves and on behalf of employees similarly situated,
8    request recovery of rest period compensation pursuant to Cal. Labor Code §
9    226.7, which they are owed beginning four (4) years prior to filing this Complaint
10   as well as the assessment of any statutory penalties against Defendants in a sum as
11   provided by the Cal. Labor Code and/or any other statute.
12                                 FIFTH CAUSE OF ACTION
13                        Failure to Maintain Accurate Payroll Records
14                           Cal. Labor Code §§ 226, 226.2, and 1174
15                                   (Against All Defendants)
16           96.   Plaintiffs and Plaintiffs’ Class incorporate all preceding paragraphs
17   of this Complaint as if fully alleged herein.
18           97.   Cal. Labor Code §1174 (d), requires an employer to keep at a central
19   location in California or at the plant or establishment at which the employees are
20   employed, payroll records showing the hours worked daily, and the wages paid to,
21   each employee. Plaintiffs are informed and believes that Defendants willfully
22   failed to make or keep accurate records for Plaintiffs and the Class.
23           98.   Cal. Labor Code § 226(a) states that “every employer shall,
24   semimonthly or at the time of each payment of wages, furnish each of his or her
25   employees, either as a detachable part of the check, draft, or voucher paying the
26   employee’s wages, or separately when wages are paid by personal check or cash,,
27   an accurate itemized statement in writing showing (1) gross wages earned, (2)
28   total hours worked by the employee…, (4) all deductions…,(5) net wages, (6) the
                                               27

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1    inclusive dates of the period for which the employee is paid, (7) the name of the
2    employee and only the last four digits of his or her social security number or an
3    employee identification number other than a social security number, (8) the name
4    and address of the legal entity that is the employer…, and (9) all applicable hourly
5    rates in effect during the pay period and corresponding number of hours worked at
6    each hourly rate by the employee…”
7          99.     Cal. Labor Code § 226.2(a)(2) requires that the itemized statements
8    required by subdivision (a) of Section 226 shall, in addition to the other items
9    specified in that subdivision, state the following: total hours of compensable rest
10   and recovery periods, the rate of compensation, and the gross wages paid for those
11   periods during the pay period.
12         100. IWC Wage Order No. 2-2001, paragraph 7(a) requires that every
13   employer shall keep accurate information with respect to each employee,
14   including time records showing when each employee begins and ends each work
15   periods, the total daily hours worked by each employee and the total hours worked
16   in each payroll period, and applicable rates of pay. Plaintiffs are informed and
17   believe that Defendants willfully and intentionally failed to make and/or keep
18   records which accurately reflect the hours worked by Plaintiffs and the Wage
19   Statement Subclass. Specifically, Plaintiffs believe that Defendants’ records do
20   not accurately reflect gross and net wages earned, applicable rates for all hours
21   worked, and the correct entity name and address.
22         101. Cal. Labor Code § 226(e) provides that if an employer knowingly
23   and intentionally fails to provide a statement itemizing, inter alia, the gross and
24   net wages earned, the total hours worked by the employee, causing the employee
25   injury, then the employee is entitled to recover the greater of all actual damages or
26   fifty dollars ($50.00) for the initial violation and one hundred dollars ($100.00) for
27   each subsequent violation, up to four thousand dollars ($4000.00). Plaintiffs are
28   informed and believe, and thereon allege that Defendants willfully failed to make
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1    or keep accurate records for Plaintiffs and the Wage Statement Subclass.
2          102. Plaintiffs and the Wage Statement Subclass were injured by
3    Defendants’ failure to provide accurate and complete information as required by
4    Subsections (1), (2), (3), (4), and (9) of Cal. Labor Code 226(a) pursuant to Cal.
5    Labor Code § 226(e)(2)(B)(i) and (iii) in that they are/were not able to promptly
6    and easily determine from the wage statements alone, without significant effort
7    and/or assistance from experts, the total hours worked, all applicable hourly rates
8    of pay with the corresponding number of hours worked, proper gross/net pay due,
9    and accurate employer information. Also, Defendants’ failure to comply with Cal.
10   Labor Code § 226(a) hindered Plaintiffs and the Wage Statement Subclass from
11   determining the amounts of wages actually owed to them without reference to
12   other documents or information, creating significant effort and cost to employees.
13         103. As a result, Defendants, jointly and severally, are liable to Plaintiffs
14   and Class Members for the amounts as penalties provided by Cal. Labor Code
15   §226(e) and reasonable attorneys’ fees and costs.
16                             SIXTH CAUSE OF ACTION
17            Failure to Pay Wages of Terminated or Resigned Employees
18                              Cal. Labor Code §§ 201-203
19                                (Against All Defendants)
20         104. Plaintiffs and Plaintiffs’ Class incorporate all preceding paragraphs
21   of this Complaint as if fully alleged herein.
22         105.    Plaintiffs and the Waiting Time Subclass who ended their
23   employment with Defendants during the Class Period, were entitled to be
24   promptly paid for all hours worked, as required by Cal. Labor Code §§ 201, 202,
25   and 203. Defendants refused and/or failed to promptly compensate Plaintiffs and
26   Plaintiffs’ Class wages owed as a result of their failure to pay Plaintiffs and the
27   Waiting Time Subclass minimum and overtime wages, meal and rest period
28   premiums, among other things. Pursuant to Cal. Labor Code § 203, Plaintiffs and
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1    Waiting Time Subclass Members seek the payment of penalties according to
2    proof.
3                             SEVENTH CAUSE OF ACTION
4             Failure to Reimburse for Necessary Expenditures – Cal. Labor Code §§
5                                       2800 and 2802
6                                     (Against All Defendants)
7             106. Plaintiffs and Plaintiffs’ Class incorporate all preceding paragraphs
8    of this Complaint as if fully alleged herein.
9             107. Cal. Labor Code § 2800 provides that “[a]n employer shall in all
10   cases indemnify his employee for losses caused by the employer's want of
11   ordinary care.
12            108. Cal. Labor Code § 2802 states that "[a]n employer shall indemnify
13   his or her employee for all necessary expenditures or losses incurred by the
14   employee in direct consequence of the discharge of his or her duties...."
15            109. Plaintiff Robinson and the Reimbursement Subclass were not
16   reimbursed by Defendants for necessary expenditures as a direct consequence of
17   the discharge of their duties.
18            110. Defendants knowingly, willingly and intentionally attempted to offset
19   the cost of doing business on Plaintiff Robinson and the Reimbursement Subclass.
20            111. Defendants had a corporate practice and policy of requiring Plaintiffs
21   and the Reimbursement Subclass to shoulder the burden of Defendants’ cost of
22   doing business by requiring Plaintiffs and the Reimbursement Subclass to
23   purchase brushes, clippers, nail clippers, scissors, muzzles, leads, bandannas, and
24   bows. Plaintiff Robinson estimates that her necessary business expenditures is
25   between $2,000.00 and $3,000.00 and Defendants failed to reimburse her for these
26   expenses. In violation of the Cal. Labor Code, Defendants failed to reimburse
27   Plaintiff Robinson and Class Members for business-related expenditures.
28   ///
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1          112. Accordingly, Plaintiffs and Plaintiffs’ Class are entitled to an award
2    of “necessary expenditures or losses” in accordance with Cal. Labor Code § 2802,
3    which shall also include all reasonable costs, including, but not limited to,
4    attorneys’ fees and interest.
5                                    EIGHTH CAUSE OF ACTION
6                                      Unfair Competition Law
7                                      (Against All Defendants)
8          113.    California Business and Professions Code § 17200 et. seq. (also
9    referred to herein as the "Unfair Business Practices Act" or "Unfair Competition
10   Law") prohibit unfair competition in the form of any unlawful, unfair or
11   fraudulent business act or practice.
12         114. California Business and Professions Code § 17204 allows "any
13   person who has suffered injury in fact and has lost money or property as a result
14   of such unfair competition" to prosecute a civil action for violation of the Unfair
15   Competition Law ("UCL").
16         115.    Cal. Labor Code § 90.5(a) states that it is the public policy of
17   California to vigorously enforce minimum labor standards in order to ensure
18   employees are not required to work under substandard and unlawful conditions,
19   and to protect employers who comply with the law from those who attempt to gain
20   competitive advantage at the expense of their workers by failing to comply with
21   minimum labor standards.
22         116.    Beginning at an exact date unknown to Plaintiffs, but at least four
23   years prior to the filing of this lawsuit, Defendants have committed acts of unfair
24   competition as defined by the Unfair Business Practices Act, by engaging in the
25   unlawful, unfair and fraudulent business practices and acts described in this
26   Complaint including but not limited to violations of Cal. Labor Code §§ 201, 202,
27   203, 204, 206, 207, 226, 226.2, 226.7, 510, 512, 1182.12, 1194, 1197, 1198 1197,
28   1198, 2800, and 2802 as well as other statutes.
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1           117.   The violations of these laws and regulations, as well as of the
2    fundamental California public policies protecting workers, serve as unlawful
3    predicate acts and practices for purposes of Business and Professions Code §§
4    17200 et. seq.
5           118.   The acts and practices described above constitute unfair, unlawful
6    and fraudulent Business Practices, and unfair competition, within the meaning of
7    Business and Professions Code § 17200 et. seq. Among other things, the acts and
8    practices have forced Plaintiffs and other similarly situated employees to labor for
9    many hours without receiving meal and rest periods or compensation in lieu
10   thereof, minimum and overtime wages for all hours worked, and reimbursement
11   for their out-of-pocket business expenses, to which they are entitled by law, while
12   enabling Defendants to gain an unfair competitive advantage over law-abiding
13   employers and competitors.
14          119.   As a result of Defendants’ acts, Plaintiffs and Plaintiffs’ Class have
15   suffered injury in fact in being denied their statutorily entitled meal and rest
16   periods, reimbursements, and full compensation for hours of labor. As a result of
17   Defendants’ unlawful acts of unfair competition, Plaintiffs and Plaintiffs’ Class
18   have lost money and property in the form of a loss of wages in an amount to be
19   proven at trial.
20          120. Business and Professions Code § 17203 provides that the Court may
21   restore to any person in interest any money or property that may have been
22   acquired by means of such unfair competition. Plaintiffs and Plaintiffs’ Class are
23   entitled to restitution pursuant to Business and Professions Code § 17203 for all
24   wages and payments unlawfully withheld from employees, including the fair
25   value of the meal and rest periods taken away from them, during the four-year
26   period prior to the filing of this complaint.
27          121.   Business and Professions Code § 17202 provides, “Notwithstanding
28   section 3369 of the Civil Code, specific or preventative relief may be granted to
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1    enforce a penalty, forfeiture, or penal law in a case of unfair competition.”
2    Plaintiffs and Plaintiffs’ Class are entitled to enforce all applicable penalty
3    provisions of the Cal. Labor Code pursuant to Business and Professions Code §
4    17202.
5          122. Plaintiffs herein takes upon themselves enforcement of these laws
6    and lawful claims. There is a financial burden involved in pursuing this action, the
7    action is seeking to vindicate a public right, and it would be against the interests of
8    justice to penalize Plaintiffs by forcing him to pay attorney's fees from the
9    recovery in this action. Attorney's fees are appropriate pursuant to Code of Civil
10   Procedure § 1021.5 and otherwise.
11                                PRAYER FOR RELIEF
12   WHEREFORE, Plaintiffs and Plaintiffs’ Class pray for judgment as follows:
13         1.     For nominal damages;
14         2.     For compensatory damages;
15         3.     For economic and/or special damages in an amount according to
16                proof with interest thereon;
17         4.     For damages, monetary relief, wages, premiums, reimbursements,
18                benefits and penalties, including interest thereon;
19         5.     For restitution of all monies due to Plaintiffs and Plaintiffs’ Class,
20                and disgorged profits from the unlawful business practices of
21                Defendants;
22         6.     For waiting time penalties pursuant to Cal. Labor Code § 203, on
23                behalf of the terminated or resigned employees;
24         7.     For penalties pursuant to Cal. Labor Code §§ 226, 226(e), 226.7, 512,
25                and 1194;
26         8.     For liquidated damages pursuant to Labor Code § 1194.2;
27         9.     For interest accrued to date;
28   ///
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1          10.   Declaratory relief, enjoining Defendants’ practices as being unlawful
2                and unfair business practices within the meaning of Bus. & Prof.
3                Code §§ 17200, et seq., and declaring Defendants have unlawfully
4                treated Plaintiffs and Plaintiffs’ Class, failed to pay all wages in
5                violation of California law, failed to pay wages to former employees
6                Plaintiffs and other certain Members of Plaintiffs’ Class, failed to
7                provide meal and rest periods or compensation in lieu thereof, failed
8                to provide Plaintiffs and Plaintiffs’ Class accurate itemized wage
9                statements upon payment of wages, failed to reimburse necessary
10               business expenditures, and declaring the amounts of damages,
11               penalties, equitable relief, costs, and attorney’s fees Plaintiffs and
12               Plaintiffs’ Class are entitled to;
13         11.   For costs of suit and expenses incurred herein pursuant to Cal. Labor
14               Code §§ 226, 1194, and Cal. Code of Civ. Proc. § 1021.5;
15         12.   For interest on all sums recovered pursuant to Cal. Code of Civ. Proc.
16               § 3287 and 3289;
17         13.   For reasonable attorneys' fees pursuant to Cal. Labor Code §§ 226,
18               1194, and Cal. Code of Civ. Proc. § 1021.5; and
19         14.   For all such other and further relief as the Court may deem just and
20               proper.
21   Dated: December 27, 2019                MAHONEY LAW GROUP, APC
22

23

24                                           /s/ Katherine J. Odenbreit, Esq_
                                             Katherine J. Odenbreit, Esq.
25
                                             Atoy H. Wilson, Esq.
26                                           Attorneys for Plaintiffs WESTLEY
                                             ROBINSON and LUTHER COCKRILL on
27
                                             behalf of themselves and all employees
28                                           similarly situated
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1                              DEMAND FOR JURY TRIAL
2          Plaintiffs WESTLEY ROBINSON and LUTHER COCKRILL hereby
3    demands a jury trial on all issues so triable.
4

5    Dated: December 27, 2019                 MAHONEY LAW GROUP, APC
6

7                                             /s/ Katherine J. Odenbreit, Esq_
8                                             Katherine J. Odenbreit, Esq.
                                              Atoy H. Wilson, Esq.
9                                             Attorneys for Plaintiffs WESTLEY
10                                            ROBINSON and LUTHER COCKRILL on
                                              behalf of themselves and all employees
11
                                              similarly situated
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